                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       No. 19CR3113 JB

TOMAS SANCHEZ,

              Defendant.


                     MEMORANDUM OPINION AND ORDER
       THIS MATTER is before the Court on Defendant Sanchez’ Opposed Motion for

Review of Detention Order and Renewed Motion for Immediate Release (Doc. 197) that

was filed on March 25, 2020 by Defendant’s previous court-appointed attorney. The

Court has reviewed the Motion and the Government’s Response, and finds that a

hearing is unnecessary for its decision.

                                        Background

       Defendant Sanchez is charged in three counts of a multi-defendant Grand Jury

indictment alleging that he conspired with others to distribute controlled substances

(Count I), possessed fentanyl with the intent to distribute it (Count 6), and also

possessed cocaine with the intent to distribute (Count 7). For all three counts, Congress

has imposed a rebuttable presumption that no combination of conditions for release will

adequately assure the attendance of the defendant at future court proceedings or

assure the safety of the community. 18 U.S.C. § 3142(e)(3)(A). Nevertheless, at a
detention hearing held September 25, 2019, this Court agreed with the Probation

Officer’s recommendation that conditions for release could be so fashioned. Doc. 90.

       The October 10, 2019 Order eventually setting conditions for third-party release

to his sister expressly provided that Defendant Sanchez was to have “[n]o contact

(direct or indirect) with any victims or witnesses in this matter, including any and all

co-defendants.” Doc. 108 at ¶7(g) (emphasis added). A Petition for Action on

Conditions of Release was then filed alleging that he had violated this condition just two

days later on October 12, 2019 with engaging in a telephone conversation with the

alleged leader of the conspiracy charge – co-defendant Robert Padilla.

       At the October 31, 2019 hearing on the Petition, Defendant Sanchez admitted

the violation, and after reviewing that recorded phone call with Co-Defendant Padilla,

the Court found that Defendant Sanchez is unlikely to abide by any condition or

combination of conditions for release. As the Government notes in its Response to the

motion, the Transcript (Exhibit 2 to Doc. 198) of the recording reveals that “[t]he two

discussed the location and status of other defendants, the defendant’s knowledge of

other co-defendants, the state of discovery, and tactics they believed law enforcement

might use against them.” Doc. 198 (citations omitted). Indeed, Defendant Sanchez even

indicated that he knew he was violating his conditions for release. Doc. 198-2 at 9 (“I’m

not even supposed to talk to you or anybody. . . . . And that’s one of my conditions for

release so I’m hoping they don’t fuckin’ fuck me on this right now.”). The Court therefore

revoked Defendant Sanchez’ pretrial conditions for release and took him into custody

until trial. Doc. 126.




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                                            Analysis

       Defendant’s Motion “requests the Court conduct a de novo review” of my Order

Revoking Conditions of Release, which, at first glance, would appear to be an appeal of

my revocation ruling to the presiding district judge. Yet, the Motion actually seeks

temporary release from custody pursuant to 18 U.S.C. § 3142(i) and cites the current

COVID-19 coronavirus pandemic as the compelling reason that justifies such relief.

Doc. 197 at 2-9.

       In a recent memorandum opinion and order raising the pandemic as a compelling

justification for temporary release, The Honorable James O. Browning first examined

the Tenth Circuit’s rationale and holding in United States v. Cisneros, 328 F.3d 610

(10th Cir. 2003), in the context of a motion brought pursuant to §3142(i). See United

States v. Alderete, CR 19-1989 JB, Doc. 53 (May 21, 2020). In Alderete, Judge

Browning reasoned that

       a defendant’s motion for temporarily release under § 3142(i) does not require
       -- by its terms -- that a judicial officer reopen the defendant’s detention hearing.
       See United States v. McKnight, 2020 WL 1872412, at *2. Whether “new”
       information has a material bearing on the defendant’s risk of nonappearance
       and danger to the community is a distinct question from whether a “compelling
       reason” warrants temporary release under § 3142(i). 18 U.S.C. § 3142(i). The
       decision whether to release a defendant temporarily under § 3142(i) is,
       however, intertwined with the factors that the initial judicial officer considered
       at the defendant’s detention hearing, because the risk of nonappearance and
       danger to the community are front and center in the judicial officer’s mind as
       he or she decides how compelling the defendant’s reason for temporary
       release is. These factors never go away. The Court further notes that, for most
       defendants who request temporary release because of a compelling reason,
       the compelling reason is often new information that was not available at the
       pretrial detention hearing -- otherwise, the defendant likely would have
       asserted the reason for release at the detention hearing. Despite the minor
       differences in §§ 3142(f) and (i)’s procedural applications, the Court concludes
       that § 3142(i)’s textual similarity to § 3142(f), and the Tenth Circuit’s reasoning
       in United States v. Cisneros, support the conclusion that only the judicial officer
       who originally issued a defendant’s pretrial detention order may subsequently
       order temporary release.

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Alderete, Doc. 53 at 49.

       Given the above guidance from Judge Browning, this Court now proceeds to

address the instant Motion. In an often cited opinion from the District of Kansas,

Magistrate Judge Angel D. Mitchell set forth four factors to be considered on a case-

by-case analysis: “(i) the Magistrate Judge’s reasons for ordering a defendant’s

detention; (ii) the defendant’s health-related COVID-19 concerns; (iii) whether the

proposed release plan mitigates COVID-19’s risks to the defendant; and (iv) whether

releasing the defendant would risk spreading COVID-19 to others.” Alderete, Doc. 53

at 57 citing United States v. Clark, 2020 WL 1446895, at *3.

       It is true that I initially found and imposed conditions for release that I felt

adequate to address my concerns at the time of the detention hearing. I cannot

ignore, however, that Defendant Sanchez violated a key condition within two days of

release and that this violation contravened my initial assessment that Defendant

Sanchez was amenable and committed to abiding by any and all conditions. Thus,

as to the first factor, I revoked the release Order and detained him because he

knowingly and voluntarily violated the contact provision and thereby defeated the

purpose for which it had been imposed – to protect the integrity of the judicial

process.

       As the second factor, Defendant Sanchez asserts that he has three medical

conditions that make him especially vulnerable should he contract the COVID-19 virus –

diverticulitis, gallstones, and depression. Doc. 197 at 3. Although there are some known

age and chronic medical conditions that can make an individual potentially more

vulnerable to this novel COVID-19 coronavirus, Defendant provides no such information

specific to the conditions upon which he relies to justify relief. The Court’s own research


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indicates that none of these conditions are currently recognized as increasing

vulnerability to COVID-19. See CDC, People Who Are at Higher Risk for Severe Illness,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-

risk.html (last visited June 29, 2020).

       The third factor – whether the proposed release plan mitigates COVID-19’s risks to

the defendant – is difficult to assess given the dynamic character of the pandemic and the

parties’ reliance on relatively stale data and information. At the time of the Government’s

Response on April 8, 2020, no federal detainees in New Mexico detention facilities had

tested positive for COVID-19. See Doc. 198 at 8. Since that time, however, one detention

facility in New Mexico used to house federal detainees – the Otero County Detention

Facility –has experienced significant numbers of its federal detainees testing positive for the

COVID-19 virus. As of June 28, 2020, the novel coronavirus has infected 275 individuals in

federal custody at that facility. See https://www.newmexico.gov/2020/06/28/updated-new-

mexico-covid-19-cases-now-at-11809/ (last visited 06/29/2020). Indeed, Defendant

Sanchez’ Motion accurately discusses the inherent conditions of pretrial confinement which

“create the ideal environment for the transmission of contagious disease.” Doc. 197 at 4-6.

These inherent conditions – especially the lack of social distancing ability – have been

thoroughly set forth in numerous briefs and judicial opinions, so I will not repeat them here.

       Yet Defendant Sanchez indicates that he is being held at the Cibola County

Correctional Center which has reported only 2 cases positive for COVID-19 despite

Defendant’s concession of its capacity to hold 1129 inmates. Id. It therefore appears that

the Cibola facility has implemented measures to address the pandemic and has this far

succeeded in preventing an outbreak of this highly contagious virus. This result means that




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the fourth factor – whether releasing the defendant would risk spreading COVID-19 to

others – is not implicated at this time.

       After reviewing the Clark factors, this Court concludes that Defendant Sanchez is not

among the most vulnerable population at heightened risk of complications should he be

exposed to the novel coronavirus or that the current conditions of confinement at Cibola

place him in special danger during the duration of this pandemic. In sum, Defendant

Sanchez has not met his burden of demonstrating a compelling reason that would justify

temporary release pursuant to 18 U.S.C. § 3142(i).

       Wherefore,

       IT IS HEREBY ORDERED that Defendant Sanchez’ Opposed Motion for Review

of Detention Order and Renewed Motion for Immediate Release (Doc. 197) is denied,




                                      ______________________________________
                                      UNITED STATES MAGISTRATE JUDGE




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